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                      IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAI’I


   UNITED STATES OF AMERICA,             CR. NO. 17-00101 JEK

         Plaintiff,                      FIFTH MOTION FOR ORDER TO
                                         SHOW CAUSE AND REQUEST
         v.                              FOR EXPEDITED HEARING;
                                         DECLARATION OF COUNSEL;
                                         EXHIBIT “A;” CERTIFICATE OF
   ANTHONY T. WILLIAMS,                  SERVICE.

         Defendant.


               FIFTH MOTION FOR ORDER TO SHOW CAUSE
                 AND REQUEST FOR EXPEDITED HEARING

   Comes now, the Defendant Anthony T. Williams, by and through his

   standby counsel, Lars Robert Isaacson, Esq., and hereby moves this court to

   issue an order to show cause against the Bureau of Prisons/FDC Honolulu to

   allow him to be able to keep the 50,000 plus documents of discovery in this

   case in his cell as detailed in the attached Declaration of Counsel and

   Exhibits “A.”
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      Dated: August 28, 2018



                                       /s/ Lars Isaacson
                                 LARS ROBERT ISAACSON
                                 Standby Attorney for
                                 Defendant Anthony T. Williams
